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                IN THE UNITED STATES DISTRICT COURT FOR
                  THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA         :
                                 :
      v.                         :
                                 : No. 4:18-CR-374
LAMONT PAYNE,                    :
                                 : (Magistrate Judge Arbuckle)
                  Defendant.     :
                                 : Judge Brann
      MOTION FOR REVIEW AND REVOCATION OF DETENTION ORDER

     Defendant Lamont Payne, by and through his undersigned

counsel, hereby moves for review and revocation of detention

and for the Court to revoke the order of detention pursuant

to 18 U.S.C. §§ 3142, 3143, 3145, the Fifth, Sixth and

Eighth Amendments to the United States Constitution,

respectfully represents the following:


     1.    In 1998, then-20 year old Lamont Payne was

sentenced to approximately 22 years for armed robbery in the

District of Columbia.

     2.    On October 8, 2018, while an inmate serving that

sentence at USP Allenwood, Mr. Payne and another individual

Floyd Long, were charged with Possession of Contraband in

Prison, pursuant to 18 U.S.C. § 1791.      Notably, the item

possessed, - a handmade sharpened piece of plastic – was not

used in any way.

     3.    On November 26, 2018, an initial appearance and

arraignment was held before Magistrate Judge Arbuckle.

     4.    Given that Mr. Payne was still serving his 1997

sentence, Mr. Payne did not contest detention at that
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juncture, but reserved the right to challenge it.

       5.    The Court ordered detention based solely on the

fact that Mr. Payne was already serving a federal sentence.

No other factor was identified in favor of detention.           (Doc.

16).

       6.    On January 29, 2020, Mr. Payne entered a guilty

plea before the Court to a single count of Possession of

Contraband.

       7.    Among other things, the negotiated plea agreement

called for a range of six months below the bottom of the

guideline to the bottom of the guideline range.

       8.    A pre-sentence report (“PSR”) was ordered and

prepared.

       9.    At the moment, without any objections, the present

advisory guidelines are 12 to 18 months.         (PSR ¶58).

       10.   Mr. Payne is awaiting sentencing.

       11.   Mr. Payne completed his 1997 federal D.C. sentence

on April 21, 2020.

       12.   He has been released from BOP custody (from FCI

Pollock) and is being detained only on the original

detention order in this case.

       13.   Mr. Payne is currently confined at the St. Martin

Parish Correctional Center in St. Martinsville, Louisiana.

       14.   While awaiting sentencing, Mr. Payne is neither a

flight risk nor a danger to the community and should be

released.

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     15.   Mr. Payne is 43 years old.

     16.   He has served approximately 22 years in federal

prison.

     17.   Mr. Payne has only a junior high school education.

     18.   Mr. Payne is disabled, learning-impaired with a

full-scale IQ of 61, and was receiving Social Security

Income due to that disability prior to his incarceration.

(PSR ¶¶ 51, 53)

     19.   Mr. Payne was born and raised in the District of

Columbia and has significant and lifetime ties to the D.C.

area, including his mother Celeste Payne, his father Charles

Clock, paternal grandmother, Elizabeth Clock and one

surviving sibling, Antonio Payne.

     20.   All of his family remains supportive of him.        His

mother, Celeste has worked for the federal government

(Government Publishing Office) for 37 years.        She has agreed

to be Mr. Payne’s third-party custodian.

     21.   If released, Mr. Payne would reside with his

grandmother Elizabeth Clock.

     22.   Mr. Payne has been exploring (and may have)

employment at his brother’s security guard employer.

     23.   Mr. Payne is represented by local counsel.

     24.   In addition to his intellectual disability, Mr.

Payne has asthma, was diagnosed with a seizure disorder as a

child, and suffers from chronic pain as the result of being

shot twice.

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     25.     Of course the United States and the rest of the

world are facing a serious and urgent public health crisis.

     26.     On March 11, 2020, the World Health Organization

(“WHO”) officially classified COVID-19, a new strain of the

coronavirus, as a global pandemic.

     27.     The exponential rate of coronavirus infection is

unparalleled.

     28.     The novel coronavirus has infected more than 880,000

people in the United States and has resulted in over 50,000

deaths thus far.

     29.     The Centers for Disease Control (“CDC”) has issued

guidance to take immediate preventive actions, including avoiding

crowded areas, social distancing measures, avoiding non-essential

travel, and staying home as much as possible.

     30.     Pennsylvania Governor Tom Wolf declared a state of

emergency that has closed all “nonessential businesses” in the

state.

     31.     The Pennsylvania Supreme Court has likewise ordered all

Pennsylvania courts closed except for essential functions.

     32.     In this district, multiple standing orders signed by

Chief Judge Conner have been issued recognizing the significant

health concerns caused by COVID-19 and disruption of normal

courthouse operations in the Middle District of Pennsylvania.

The Court also recognized that the CDC, as well as state health

authorities advised that precautions be taken to avoid exposure

to the virus and prevent its spread.

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     33.     The Federal Bureau of Prisons, Pennsylvania Department

of Corrections and local county jails have all suspended legal

contact visits, and implemented other restrictive measures to

stop the spread of the virus.

     34.     St. Martin Parish, Louisiana has 218 reported

coronavirus cases and 14 deaths.          See www.ldh.la.gov/coronavirus.

     35.     All of these measures are unprecedented, to say the

least.

     36.     Pre-trial conditions of confinement create the ideal

environment for transmission of COVID-19 and prisons and jails

are especially vulnerable.

     37.     Mr. Payne’s compromised medical state (asthma) place

him in a higher-risk category of contracting COVID-19.

     38.     There are conditions available that can be imposed

that will reasonably assure Mr. Payne’s appearance,

including a responsible third-party custodian (his mother),

electronic monitoring, and pre-trial services supervision.

     39.     In addition, upon his release, Mr. Payne is

already required to report to the D.C. federal probation

office to commence five years of court-ordered supervised

release.     (PSR ¶ 26).

     40.     Finally, even applying the applicable sentencing

guidelines on the current case as-is, Mr. Payne would be

eligible for electronic monitoring/home confinement.            (PSR ¶

58); see also U.S.S.G. § 5C1.1.



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     41.     Assistant United States Attorney Alisan Martin has

been contacted and has stated that she “can’t concur” in the

foregoing motion.

     WHEREFORE, Mr. Payne respectfully requests that the

Court grant a prompt telephonic hearing/conference on the

matter and after said hearing, grant his motion for review

and revocation and release him pending disposition in this

case under any conditions that the Court may deem just and

appropriate.




Dated:       April 24, 2020




                              MIELE & RYMSZA, P.C.


                              By:   s/ Edward J. Rymsza
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                       CERTIFICATE OF SERVICE

     I, Edward J. Rymsza, Esq., hereby certify that on this

24th day of April 2020, I served the foregoing Motion for

Review and Revocation of Detention Order upon Alisan Martin,

Esq. by electronic mail.


Dated:       April 24, 2020



                                    MIELE & RYMSZA, P.C.


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